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8. CASE NUMBER 9. JUDGE DATES OF PROCEEDINGS
3:17-cv-00072 Joel C. Hoppe 10. FROM 3/1/2019 | 11.TO 3/1/2019

 

12. CASE NAME
Sines v. Kessler

LOCATION OF

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15. ORDER FOR

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